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                                                                                                   E-FILED
                                                                  Wednesday, 11 January, 2023 04:11:26 PM
                                                                             Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

DWIGHT LONG,                                    )
                                                )
                              Plaintiff,        )           Case No. 19-CV-3195
                                                )
       v.                                       )
                                                )           Honorable Judge Colin S. Bruce
TERRY MARTIN,                                   )
                                                )
                              Defendant.        )

                                  NOTICE OF DEPOSITION

TO:    Alan Remy Taborga
       Assistant Attorney General, Prisoner Litigation
       Office of the Illinois Attorney General
       1776 East Washington Street
       Urbana, IL 61802
       Phone: (217) 278-3332
       Email: alan.taborga@ilag.gov
TO:
       Teri Sommer
       Area Wide Reporting Service Court Reporter Manager
       301 West White Street
       Champaign, IL 61820 Phone: 217-356-5119
       Email: teri@areawide.net

PLEASE TAKE NOTICE that by agreement of all parties the deposition of KIMBERLY
BARBEE will be taken on Wednesday January 25, 2023 at the time of 1:00 PM CST. The
deposition will take place remotely with KIMBERLY BARBEE appearing via video. Plaintiff’s
counsel will appear via video while conducting the deposition. Additionally, the court reporter,
Area Wide Court Reporting, will also appear via video.

 DEPONENTS               DATE                       TIME                   LOCATION
 Kimberly Barbee         January 25, 2023           1:00 PM CST            Via Video
                           3:19-cv-03195-EIL # 92            Page 2 of 2




                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                      )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )             No. 19-CV-3195
                                                  )
TERRY MARTIN.                                     )
                                                  )
       Defendant.                                 )


                               CERTIFICATE OF SERVICE


       Plaintiff’s counsel, Christopher Bailey and Sara Trevino hereby certify that on January

11, 2023 they filed the foregoing instrument, NOTICE OF DEPOSITION, with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the following:


Alan Remy Taborga
Assistant Attorney General, Prisoner Litigation
Office of the Illinois Attorney General
1776 East Washington Street
Urbana, Illinois 61802
Office: (217) 278-3332
Cell: (217) 843-0345
Email: alan.taborga@ilag.gov
                                                      Respectfully Submitted,

                                                      By: /s Sara Trevino

                                                      By: /s Christopher Bailey

                                                         Attorneys for Plaintiff
                                                         Sara M. Trevino
                                                         Christopher Bailey
                                                         University of Illinois College of Law
                                                         Federal Civil Rights Clinic
                                                         504 E. Pennsylvania Avenue, Room 241
                                                         Champaign, Illinois 61820
                                                         saramt3@illinois.edu
